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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

CONSUMER FINANCIAL PROTECTION
BUREAU AND THE PEOPLE OF THE
STATE OF NEW YORK, by LETITIA
JAMES, ATTORNEY GENERAL FOR THE
STATE OF NEW YORK,

Plaintiffs,
Vv.
DOUGLAS MACKINNON, MARK GRAY,
NORTHERN RESOLUTION GROUP, LLC,
ENHANCED ACQUISITIONS, LLC,
AND DELRAY CAPITAL, LLC,

Defendants.

 

 

No. 1:16-CV-00880-FPG-HKS

JOINT STIPULATION FOR ENTRY
OF PROPOSED STIPULATED FINAL
JUDGMENT AND ORDER

Plaintiffs the Consumer Financial Protection Bureau and the People of the State of New

York, by Letitia James, the Attorney General of the State of New York and Defendants Douglas

MacKinnon, Northern Resolution Group, LLC, and Enhanced Acquisitions, LLC respectfully

request that the Court enter the attached, proposed Stipulated Final Judgment and Order.

SO STIPULATED AND AGREED

FOR PLAINTIFES:

CONSUMER FINANCIAL PROTECTION BUREAU

  

 

Date: < Lig | | 4

 

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PEOPLE OF THE STATE OF NEW YORK

 

by LETITIA JAMES,
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(tA aee ee Ne Date: 7241/7
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COUNSEL For: Douglas MacKinnon, Northern Resolution
Group, LLC; and Enhanced Acquisitions, LLC

DEFENDANTS:

9) 2—L i Date: Gf/ [2

Douglas MacKinnon

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Douglas MacKinnon
As an officer of Northern Resolution Group, LLC

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Douglas MacKinnon
As an officer of Enhanced Acquisitions, LLC

 

 
